                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA




UNITED STATES OF AMERICA                            3:09-cr-108-JWS-JDR

                   Plaintiff,                           ORDER
            vs.                                       APPOINTING
                                                   STANDBY COUNSEL
ROBIN L. JENSEN,

                   Defendant.



            The court may appoint an attorney as “stand-by counsel” to protect the

integrity and continuity of the proceedings. Stand-by counsel is appointed to serve

as an expert or consultant to the court pursuant to 5 U.S.C. § 3109, and does not

represent the defendant. Compare United States v. Mills, 895 F.2d 897 (2nd Cir.

1990). Stand-by counsel may be appointed regardless of whether the defendant is

financially able to obtain his/her own representation. The court may appoint counsel

to merely advise or give the accused meaningful assistance in the presentation of

the defense and to preserve the record for appeal. United States v. Dujanovic, 486



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F.2d 182, 187 (9th Cir. 1973); Haslam v. United States, 431 F.2d 362 (9th Cir. 1970),

cert. denied 401 U.S. 976, affirmed on r’hg 437 F.2d 955 (1971). Stand-by counsel

may be appointed to relieve the trial judge of the need to explain and enforce basic

rules of courtroom protocol or to assist the defendant in overcoming routine

obstacles that stand in the way of his/her achievement of their own clearly indicated

goals. If during the proceedings the defendant chooses to retain counsel, stand-by

counsel’s appointment will ordinarily be terminated. United States v. Romano, 849

F.2d 812 (3rd Cir. 1988).

                   The role of stand-by counsel in pro se cases has been defined to some

extent by the U.S. Supreme Court. See McKaskle v. Wiggins, 465 U.S. 168, 104

S.Ct. 944, r’hg denied 465 U.S. 1112, 104 S.Ct. 1620 (1984). In Wiggins the

Supreme Court held that a pro se defendant’s Sixth Amendment right to conduct his

own defense was not violated by the unsolicited participation of stand-by counsel.

                   This order does not direct court-appointed stand-by counsel to assume

the defense of a defendant in this case. The appointment of stand-by counsel is not

intended to revoke a defendant’s Sixth Amendment right to proceed pro se or to

prevent a defendant to retain counsel of his/her choosing at the defendant’s own

expense. Stand-by counsel shall be available to aid defendant Robin L. Jensen, “if

and when” she requests assistance or decides not to proceed pro se in the

preparation of her own defense or in the trial. Accordingly, the Federal Defender



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shall appoint separate stand-by counsel for defendant Robin L. Jensen. McKaskle

teaches that the objectives underlying the right of self-representation, namely

affirmation of individual dignity and autonomy, may be undermined by unsolicited

and excessively intrusive participation by the stand-by counsel. The defendant shall

be given a fair chance to present her case her own way without disruption to the

orderly progression of a trial.

                   DATED this 21st day of December, 2009, at Anchorage, Alaska.



                                                          /s/ John D. Roberts
                                                         JOHN D. ROBERTS
                                                         United States Magistrate Judge




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